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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,       )               CR. NO. 13-00512 DKW
                                 )
                Plaintiff,       )               AMENDED PRELIMINARY
      vs.                        )               ORDER OF FORFEITURE AND
                                 )               PARTIAL FINAL ORDER OF
 GEORGE LINDELL and         (01) )               FORFEITURE
 HOLLY HOAEAE,              (02) )
                                 )
                Defendants.      )
 ______________________________ )

               AMENDED PRELIMINARY ORDER OF FORFEITURE
                AND PARTIAL FINAL ORDER OF FORFEITURE

          Consistent with the Court’s August 28, 2020 Order Granting the United

 States of America’s Motion for an Amended Preliminary Order of Forfeiture and

 Partial Final Order of Forfeiture, IT IS HEREBY ORDERED, ADJUDGED, AND

 DECREED:

          THAT a Final Order of Forfeiture is entered against the Specific Forfeited

 Property, namely $27,000 contained in Wells Fargo IRA Number 1017-7984, and

 no right, title, or interest in the Specific Forfeited Property shall exist in any other

 party;




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       THAT the Specific Forfeited Property is hereby forfeited to the United

 States of America pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c);

 and

       THAT all right, title, and interest in the Specific Forfeited Property, as well

 as any income derived as a result of the management of the property by any United

 States agency that has had custody of the Specific Forfeited Property, are hereby

 condemned, forfeited, and vested in the United States of America and shall be

 disposed of according to law; and

       THAT defendants are entitled to a credit against the Money Judgment in the

 amount of the Specific Forfeited Property, namely $27,000; and

       THAT all of the defendants’ right, title, and interest in the contents of Wells

 Fargo IRA Number 1017-7984, up to the amount of the Money Judgment that

 remains unpaid, is hereby forfeited to the United States of America pursuant to 18

 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c); and

       THAT the United States Marshals Service shall seize, retain, and deposit the

 entire contents of Wells Fargo IRA Number 1017-7984, up to the amount of the

 Money Judgment that remains unpaid, and shall take any other steps deemed

 warranted to preserve the availability of those funds for forfeiture pending the

 conclusion of any third party proceedings that may be conducted in this matter

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 pursuant to 21 U.S.C. § 853(n) and Rule 32.2 of the Federal Rules of Criminal

 Procedure; and

       THAT, pursuant to 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal

 Rules of Criminal Procedure, the United States shall publish notice of this Order

 and of its intent to dispose of the contents of Wells Fargo IRA Number 1017-7984

 in such a manner as the Attorney General may direct, including posting notice on

 the official internet government forfeiture site, namely www.forfeiture.gov, for at

 least 30 consecutive days; and

       THAT the United States may also, to the extent practicable, provide direct

 written notice to any person known to have alleged an interest in the contents of

 Wells Fargo IRA Number 1017-7984, as a substitute for published notice as to

 those persons notified; and

       THAT, pursuant to 21 U.S.C. § 853(n)(2), any person, other than

 defendants, asserting a legal interest in the contents of Wells Fargo IRA Number

 1017-7984 must file a petition with the Court for a hearing to adjudicate the

 validity of the petitioner’s alleged interest in the contents of Wells Fargo IRA

 Number 1017-7984 within 30 days of the final publication of notice or of receipt of

 actual notice, whichever is earlier; and




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       THAT, pursuant to 21 U.S.C. § 853(n)(3), the petition shall be signed by the

 petitioner under penalty of perjury and shall set forth the nature and extent of the

 petitioner’s right, title, or interest in the contents of Wells Fargo IRA Number

 1017-7984, the time and circumstances of the petitioner’s acquisition of the right,

 title, or interest in the property, and any additional facts supporting the petitioner’s

 claim and the relief sought; and

       THAT the contents of Wells Fargo IRA Number 1017-7984 are to be held

 by the appropriate United States agency in its secure custody and control until the

 appropriate disposition of the contents of Wells Fargo IRA Number 1017-7984 by

 the United States; and

       THAT upon adjudication of all third party interests, this Court will enter a

 Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n) and Rule 32.2(c)(2), in

 which all interests in the contents of Wells Fargo IRA Number 1017-7984 will be

 addressed; and

       THAT, if the forfeiture of the contents of Wells Fargo IRA Number 1017-

 7984, or any portion of it, becomes final, defendants will be entitled to a credit

 against the Money Judgment in the amount of the contents of that account that is

 forfeited; and

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       THAT this Court shall retain jurisdiction to enforce this Order, and to amend

 it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       DATED: August 28, 2020, at Honolulu, Hawaii.




 USA v. GEORGE LINDELL and HOLLY HOAEAE; Criminal No. 13-00512;
 “Amended Preliminary Order of Forfeiture and Partial Final Order of Forfeiture”




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